                            INT'PE~UD~~~~~~~~~
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                                 FORTHEJb~TE

UNITED STATES OF AMERICA                                    §
                                                     JUL ~9 2014
vs.                                                         §                       CASE NO.: 3:14-CR-125-K (01)
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HECTOR FAVIO OROZCO-GUT E1RK, U.S.                              STRI~
                                                          De u

                                        CONCERNING PLEA OF GUILTY

         HECTOR FAVIO OROZCO-GUTIERREZ, by consent, under authority ofUnited States v. Dees, 125 F .3d
261 (5th Cir. 1997), has appeared before me pursuant to Fed. R. Crim.P. 11, and has entered a plea of guilty to the One
Count Superseding Information, filed on July 14,2014. After cautioning and examining Defendant Hector Favio
Orozco-Gutierrez under oath concerning each of the subjects mentioned in Rule 11, I determined that the guilty plea
was knowledgeable and voluntary and that the offense charged is supported by an independent basis in fact containing
each of the essential elements of such offense. I therefore recommend that the plea of guilty be accepted, and that
Defendant Hector Favio Orozco-Gutierrez be adjudged guilty of Possession of a Controlled Substance With
Intent to Distribute, 21 USC§ 841(a)(1) & (b)(1)(C), and have sentence imposed accordingly. After being found
guilty of the offense by the district judge,

        The defendant is currently in custody and should be ordered to remain in custody.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(l) unless the Court finds by clear
        and convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        D        The Government does not oppose release.
        D        The defendant has been compliant with the current conditions of release.
        D        I find by clear and convincing evidence that the defendant is not likely to flee or pose a danger to any
                 other person or the community if released and should therefore be released under § 3142(b) or (c).

        D        The Government opposes release.
        D        The defendant has not been compliant with the conditions of release.
        D        Ifthe Court accepts this recommendation, this matter should be set for hearing upon motion of the
                 Government.

D       The defendant must be ordered detained pursuant to 18 U.S.C. § 3143(a)(2) unless (1 )(a) the Court finds there
        is a substantial likelihood that a motion for acquittal or new trial will be granted, or (b) the Government has
        recommended that no sentence of imprisonment be imposed, or (c) exceptional circumstances are clearly
        shown under § 3145(c) why the defendant should not be detained, and (2) the Court finds by clear and
        convincing evidence that the defendant is not likely to flee or pose a danger to any other person or the
        community if released.

        Signed July 29, 2014




                                                       NOTICE

          Failure to file written objections to this Report and Recommendation within fourteen ( 14) days from the date
of its service shall bar an aggrieved party from attacking such Report and Recommendation before the assigned United
States District Judge. 28 U .S.C. §636(b )( 1)(B).
